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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                           CHIEF JUDGE WILEY Y. DANIEL

Civil Action No.: 11-cr-00184-WYD

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. LEON HENDERSON ASKEW,

       Defendant.


                     ORDER REGARDING CUSTODY OF EXHIBITS


       It is ORDERED that upon the conclusion of the trial, counsel for the parties shall

retain custody of their respective exhibits and depositions until such time as all need for the

exhibits and depositions has terminated and the time to appeal has expired, or all appellate

proceedings have been terminated, plus sixty days.

       DATED: January 20, 2012.

                                           BY THE COURT:


                                           s\ Wiley Y. Daniel
                                           WILEY Y. DANIEL,
                                           CHIEF UNITED STATES DISTRICT JUDGE
